            Case 4:18-cv-00698-BSM Document 1 Filed 09/20/18 Page 1 of 12

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                                                                          EASTERN DISTRICT ARKANSAS


                    IN THE UNITED STATES DISTRICT COURT    SEP 2 0 2018
                       EASTERN DISTRICT OF ARKANSAS ~~~ES W,~MACK, CLERK
                             WESTERN DIVISION                           DEP CLERK




     R.P. AND R.P., INDIVIDUALLY           §
                 AND                       §
        AS PARENTS AND NEXT                §
           FRIENDS OF R.P.,                §
                                           §
                                           §                DPHCASE
               PLAINTIFFS
                                           §                NO. H-18-21
                                           §
                   vs.                     §
                                           §
                                           §       This case assigned to Disbict Judge £!)'..)) c c
     VILONIA SCHOOL DISTRICT,              §       and to Magistrate Judge--Dt--c:e._..1_ _ __
                                           §
               DEFENDANT



                                    COMPLAINT


          R.P. and R.P. ("Parents"), as Parents of Next Friends ofR.P. ("Student"), for

    their Complaint state:

                                       Introduction

          1.     Parents filed a due process complaint pursuant to the Individuals with

          Disabilities Education Act ("IDEA") against the Vilonia School District

          ("District"). The hearing officer issued his final decision and order on 23

          June 2018. The hearing officer found that the District denied Student a free

          appropriate public education ("FAPE") during the 2017-18 school year but
      Case 4:18-cv-00698-BSM Document 1 Filed 09/20/18 Page 2 of 12
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     failed to award appropriate relief. Moreover, the hearing officer's decision is

     fatally infected by legal errors prejudicing Parents. Thus, Parents are both

     the prevailing party and a party aggrieved by the hearing officer's decision.

     Accordingly, Parents seek attorneys' fees as the prevailing party and appeal

     the hearing officer's decision as an aggrieved party. See 20 U.S.C. § 1415(i)

     (2), (3).

     2.     Parents also seek relief pursuant to §504 of the Rehabilitation Act of

     1973, 29 U.S.C. §794(a). The District physically and emotionally harmed

     Student in bad faith or with gross misjudgment by departing substantially

     from accepted professional judgment, practice or standards as to

     demonstrate that those responsible actually did not base the decision on such

     a judgment. The District also unlawfully retaliated against Parents and

     Student for asserting their rights under the IDEA and §504. Accordingly,

     Parents, individually and on behalf of Student, seek compensatory damages

     for pecuniary and non-pecuniary harm caused by the District.

     3.     Parents are the proper parties to bring this action as the parents and

     next friends of Student. See Fed. R. Civ. P. 17(2). Student is a minor with a

     date of birth of 19 January 2008.

                             Jurisdiction and Venue
     4.     This Court has jurisdiction of Parents' claim for attorneys' fees and

     Parent's IDEA appeal pursuant to 20 U.S.C. §1415(i)(2) and (3). This Court


                                                                            Page 2 of 12
 Case 4:18-cv-00698-BSM Document 1 Filed 09/20/18 Page 3 of 12



has jurisdiction of Parents' individual §504 claims and Student's §504 claim

pursuant to 28 U.S.C. § 1331 and§ 1343(a).

5.    This Court is the proper venue for Parents' claims. See 28 U.S.C.

§1391(b). Parents reside in Faulkner County, Arkansas. The District is

located in Faulkner County, Arkansas. The events giving rise to Parents'

Complaint occurred in Faulkner County, Arkansas. Faulkner County,

Arkansas is in the Eastern District of Arkansas, Western Division. See 28

u.s.c. §83.
                             IDEA Appeal
6.    In reviewing an IDEA appeal, a district court should answer two

questions: (1) Whether the District complied with the IDEA's procedures;

and, (2) Whether the IEP was reasonably calculated to enable a child to

make progress appropriate in light of the child's circumstances. Bd. ofEduc.

ofHendrick Hudson Cent. Sch. Dist., Westchester Cty. v. Rowley, 458 U.S.

176, 206-07 (1982). See Endrew F. ex rel. Joseph F. v. Douglas Cty. Sch.

Dist. RE-1, 137 S. Ct. 988, 1001 (2017) ("[The IDEA] requires an

educational program reasonably calculated to enable a child to make

progress appropriate in light of the child's circumstances."). If these

requirements are met, the State has complied with the obligations imposed

by Congress and the courts can require no more. Rowley, 458 U.S. at 207.




                                                                          Page 3 of 12
 Case 4:18-cv-00698-BSM Document 1 Filed 09/20/18 Page 4 of 12



7.     An IDEA procedural violation is best understood in contrast to a

substantive violation. A substantive violation arises when a school district

fails to provide "an educational program reasonably calculated to enable a

child to make progress appropriate in light of the child's circumstances."

Endrew, 137 S.Ct. at 1001. A procedural violation arises when a school

district fails to comply with any other requirement of the IDEA or its

implementing regulations. See, e.g., L. 0. v. New York City Dep't ofEduc.,

822 F.3d 95, 109 (2d Cir. 2016). In L.O., the Second Circuit described as

procedural violations the school district's failure to review evaluation

results, failure to perform a functional behavioral assessment ("FBA") and

develop a behavior intervention plan ("BIP"), failure to provide adequate

speech therapy and failure to include in the individualized education

program ("IEP") measureable goals and objectives. Id. at 110, 113, 116, 118,

123.

8.     A procedural violation entitles parents to relief only if it: "(I) impeded

the child's right to a [FAPE]; (II) significantly impeded the parents'

opportunity to participate in the decisionmaking process regarding the

provision of a [FAPE] to the parents' child; or (III) caused a deprivation of

educational benefits." 20 U.S.C. § 1415(f)(3)(E)(ii). "Multiple procedural

violations may cumulatively result in the denial of a FAPE even if the




                                                                         Page 4 of 12
 Case 4:18-cv-00698-BSM Document 1 Filed 09/20/18 Page 5 of 12



violations considered individually do not." R.E. v. N. Y.C. Dep't ofEduc., 694

F.3d 167, 190 (2d Cir. 2012).

9.    In lies of an opening statement at the Due Process Hearing, the

Parents identified nine procedural violations committed by the District that

impeded the Student's right to a FAPE, significantly impeded Parent's

opportunity to participate in the decision making process regarding the

provision of a FAPE and caused a deprivation of educational benefits. 20

U.S.C. § 1415(f)(3)(E)(ii).

10.   Following the due process hearing, the parties submitted post-hearing

briefs. Parents' Post-Hearing brief discussed the nine procedural violations

raised initially, additional procedural violations presented at the Hearing, and

evidence supporting the denial of a Free Appropriate Public Education.

in the subsequent discussion. Even so, the hearing officer's decision states,

"[Parents} did not raise any procedural violations of the IDEA and as such,

this hearing officer hereby finds that the District did not deny FAPE to

[Student] on account of any violation of any procedural issues." HO

Decision, p. 70. The hearing officer erred as a matter of law by failing to

consider the procedural violations proved by Parents at the due process

hearing.

11.   The hearing officer found:




                                                                      Page 5 of12
        Case 4:18-cv-00698-BSM Document 1 Filed 09/20/18 Page 6 of 12




      Beginning in early 2018 the atmosphere, coordination, support and
      interaction between the Parent's (sic) and the District has (sic)
      virtually dissolved and is at this point almost non-existent. ... This
      situation has evolved into one which the Student himself is the
      controlling factor. The District is powerless at this time to control his
      disruptive physical outbursts due to the Parent's (sic) position
      demanding no physical contact with the Student.

HO Decision, p. 71. The hearing officer erred as a matter of law in blaming

Parents for the District's failure to meet its obligations under the IDEA.

      12.    School districts have "an affirmative duty to review and revise, at

      least annually, an eligible child's IEP. See, e.g., 20 U.S.C. § 1414(d)(2)(A),

      (4)(A); 34 C.F.R. §§ 300.323(a), 300.324(b)(l). Nothing in the statute makes

      that duty contingent on parental cooperation with, or acquiescence in, the

      state or local educational agency's preferred course of action." Anchorage

      Sch. Dist. v. MP., 689 F.3d 1047, 1055 (9th Cir. 2012). It is "antithetical to

      the IDEA's purposes to penalize parents-and consequently children with

      disabilities-for exercising the very rights afforded to them under the IDEA.

      See 20 U.S.C. § 1400(d)(l)(B) (explaining that one of the IDEA's purposes

      is 'to ensure that the rights of children with disabilities and parents of such

      children are protected')." Id. at 1056. Accordingly, school districts "cannot

      excuse their failure to satisfy the IDEA's procedural requirements by

      blaming the parents." Id. at 1055.




                                                                              Page 6 of 12
 Case 4:18-cv-00698-BSM Document 1 Filed 09/20/18 Page 7 of 12



13.   Similarly, school districts have an affirmative duty to revise a child's

BIP if it is not working. The school district's duty is not contingent upon the

child's cooperation where the failure to cooperate is a manifestation of the

child's disability. See Indep. Sch. Dist. No. 284 v. A.C., 258 F.3d 769, 777

(8th Cir. 2001) (finding denial ofFAPE where "truancy and disruptiveness

had substantially prevented her from receiving educational benefit."). As the

Eighth Circuit explained in A. C., "If the problem prevents a disabled child

from receiving educational benefit, then it should not matter that the

problem is not cognitive in nature or that it causes the child even more

trouble outside the classroom than within it. What should control our

decision is not whether the problem itself is 'educational' or 'non-

educational,' but whether it needs to be addressed in order for the child to

learn." Id. The hearing officer erred as a matter of law in blaming Student

for the District's failure to meet its obligations under the IDEA.

14.   The District failed and/or refused to provide Student required

evaluations, and as a result, Parent paid for an occupational therapy

evaluation and a speech-language evaluation. Parents provided these to the

District at the 21 February 2018 IEP meeting, but the District refused to

discuss them. The occupational therapy evaluation showed the immediate

need for occupational therapy. The hearing officer erred as a matter of law in




                                                                        Page 7 of 12
 Case 4:18-cv-00698-BSM Document 1 Filed 09/20/18 Page 8 of 12



not awarding compensatory occupational therapy and in not awarding parent

reimbursement for the cost of these evaluations.

15.    The hearing officer was correct in finding that the District denied

Student a FAPE during the 201 7-18 school year, but the hearing officer erred

by failing to award appropriate relief. Accordingly, Parents respectfully

request appropriate relief more particularly described in the prayer below.

                         Student's §504 Claim
16.    Student is a qualified individual with a disability.

17.   The District is a public entity receiving federal funds.

18.   The District discriminated against Student on the basis of his

disability. In particular, the District disciplined Student for disability-related

behaviors by using intimidation, exclusions, coercion, seclusion and physical

restraints resulting and emotional and physical harm to Student.

19.   The District physically and emotionally harmed Student in bad faith

or with gross misjudgment by departing substantially from accepted

professional judgment, practice or standards as to demonstrate that those

responsible actually did not base the decision on such a judgment.

20.   The District refused to follow guidelines issued by the Arkansas

Department of Educational ("ADE") regarding the use of physical restraints

and refused to follow the ADE Rules and Regulations concerning the use of

the Timeout Seclusion Room. ADE Reg 20.00.


                                                                         Page 8 of 12
 Case 4:18-cv-00698-BSM Document 1 Filed 09/20/18 Page 9 of 12



21.   The District failed to employ practices based on peer-reviewed

research to the extent practicable.

22.   As a result of the District's unlawful discrimination, Student has

incurred pecuniary and non-pecuniary losses for which he should be

compensated.

                     Student's Retaliation Claim

23.   Student engaged in protected activity. Student, through Parents,

asserted his right to a FAPE under the IDEA and his right not to be

discriminated against because of his disability-related behaviors under §504.

24.   The District took adverse action against Student for engaging in

protected activity, including but not limited to engaging in intimidation,

coercion, seclusion, physical restraint, to disciplining and suspending

Student and to calling the police on Student.

25.   There is a causal connection between Student's protected activity and

the District's adverse action. The District's adverse action follows closely in

time to Student's protected activity, and the District can offer no legitimate,

non-discriminatory reason for the adverse action.

26.   As a result of the District's unlawful retaliation, Student has incurred

pecuniary and non-pecuniary losses for which he should be compensated.

                      Parents' Retaliation Claim




                                                                       Page 9 of 12
 Case 4:18-cv-00698-BSM Document 1 Filed 09/20/18 Page 10 of 12



27.    Parents engaged in protected activity. Parents asserted their rights and

the rights of Student under the IDEA and §504.

28.    The District took adverse action against Student in retaliation for

Parents engaging in protected activity, including but not limited to engaging

in intimidation, coercion, seclusion and restraint of Student, to disciplining

and suspending Student and calling the police to arrest the Student once he

became of age to be prosecuted in juvenile court.

29.   The District took adverse action against Parents for engaging in

protected activity by refusing to comply with the IDEA and §504, including

refusing to provide required evaluations, refusing to reimburse Parents for

required evaluations secured by them and having Student's mother arrested

for trespassing on the school campus after the District called and requested

that she come to the school campus.

30.   There is a causal connection between Parents' protected activity and

the District's adverse action. The District's adverse action follows closely in

time to Parents' protected activity, and the District can offer no legitimate,

non-discriminatory reason for the adverse action.

31.   As a result of the District's unlawful retaliation, Parents have incurred

pecuniary and non-pecuniary losses for which they should be compensated.




                                                                      Page 10 of 12
            Case 4:18-cv-00698-BSM Document 1 Filed 09/20/18 Page 11 of 12
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                                   IDEA Attorneys' Fees Claim

            32.      Parents are the prevailing party in the state administrative proceeding

           and entitled to recover reasonable attorneys' fees as a part of the costs. See

           20     u.s.c. § 1415(i)(3).
           33.       To the extent Parents prevail on their IDEA attorneys' fee claim and

           IDEA appeal, Parents will be entitled to recover attorneys' fees for work in

           these proceedings.


                                          Jury Demand


           34.       Parents and Student demand a jury trial.


                                              Prayer


           WHEREFORE, Parents pray that the hearing officer's award of relief be

     reversed; that Parents be awarded appropriate relief under the IDEA, including

     compensatory education, compensatory occupational therapy, an FBA and

     appropriate BIP prepared by a behavior consultant approved by Parents, an

     appropriate IEP, and reimbursement the costs of evaluations paid by Parents; that

     Parents and Student be awarded compensatory damages for their pecuniary and

     non-pecuniary losses in an amount determined by a jury; that Parents be awarded

     their costs and attorneys' fees incurred in the State administrative proceeding and




                                                                                  Page 11 of 12
             Case 4:18-cv-00698-BSM Document 1 Filed 09/20/18 Page 12 of 12
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      in proceedings in this Court; and, that Parents be awarded all other just and proper

      relief to which they may be entitled.


                                              Respectfully submitted,


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                                                                                Page 12 of 12
